         Case 1:19-cr-00037-AW-GRJ Document 18 Filed 11/12/19 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO. 1:19CR37 AW

DOMINGO PAEZ-BAUTISTA,
                                         /

                DEFENDANT’S MOTION TO CONTINUE TRIAL

      COMES NOW the Defendant, DOMINGO PAEZ-BAUTISTA, and requests

this Court’s order continuing trial in the above styled case and in support would

state:

      1. The Defendant’s trial is scheduled for November19, 2019, at 8:30 a.m.

      2. Undersigned counsel anticipates that the Defendant will enter a guilty plea.

      3. Additional time is necessary to schedule change of plea hearing and to give

         the Defendant an opportunity enter his plea.

      4. The Defendant herein waives his right to a speedy trial only with regard to the

         above requested timeframe.

      5. Undersigned counsel has conferred with Assistant U. S. Attorney Christopher

         Elsey who does not object to the granting of this request.

      WHEREFORE, the Defendant requests this Court’s order granting this motion

and continuing the currently scheduled trial for approximately thirty (30) days.
      Case 1:19-cr-00037-AW-GRJ Document 18 Filed 11/12/19 Page 2 of 2




             CERTIFICATE PURSUANT TO LOCAL RULE 7.1

      I hereby certify that undersigned counsel has conferred with counsel for the

United States, Christopher Elsey, and that he has no objection to this motion.

I further certify that this motion contains 135 words.

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

electronically furnished to Christopher Elsey, Assistant United States Attorney,

Gainesville, FL, on this 12th day of November 2019.

                                              Respectfully Submitted,
                                              RANDOLPH P. MURRELL
                                              Federal Public Defender

                                              By: s/ Darren Johnson
                                              ______________________________
                                              Darren J. Johnson
                                              Assistant Federal Public Defender
                                              New York Bar No. 4056800
                                              101 S. E. 2nd Place, Suite 112
                                              Gainesville, FL 32601
                                              (352) 373-5823
